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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                        DELTA DIVISION

ADRIAN JACOBS                                                                                              PLAINTIFF

v.                                            No. 2:23-cv-00235-LPR

MITCHELL, et al.                                                                                      DEFENDANTS

                                                        ORDER

         The Court has reviewed the Recommended Disposition (RD) submitted by United States

Magistrate Judge Patricia S. Harris (Doc. 7) and the Plaintiff’s Objections (Doc. 8). After a de

novo review of the RD, along with careful consideration of the Objections and the entire case

record, the Court hereby approves and adopts the RD in its entirety as this Court’s findings and

conclusions in all respects.1

         Accordingly, Plaintiff’s claims are DISMISSED without prejudice for failing to state a

claim on which relief may be granted. The Court recommends that dismissal of this case count as

a “strike,” in the future, for purposes of 28 U.S.C. § 1915(g). The Court certifies, pursuant to

28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal from this Order or the accompanying

Judgment would not be taken in good faith.

         IT IS SO ORDERED this 24th day of June 2024.


                                                                   ________________________________
                                                                   LEE P. RUDOFSKY
                                                                   UNITED STATES DISTRICT JUDGE


1
  In an Order dated April 29, 2024, the Court wrote: “The RD explains that Plaintiff’s Complaint mostly concerns the
treatment of another inmate, and thus Plaintiff lacks standing to bring those claims . . . [, but] Plaintiff filed Objections
to the RD (Doc. 8) that strongly imply (if not expressly indicate) that the allegations in the Complaint may concern
Plaintiff personally, rather than another unnamed inmate.” Order (Doc. 9) at 1. The Court therefore gave Plaintiff 45
days to file an Amended Complaint clarifying these allegations. Plaintiff was warned that the failure to file an
Amended Complaint would result in the Court adopting the RD and dismissing the case entirely. Plaintiff has not
filed an Amended Complaint, and the time for doing so has expired.
